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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

  LUTHER GRAHAM,
                         Plaintiff,               Civil Action
                                          DOCKET NO. 16-1578(PGS)(LHG)
                  v.
                                         ORDER DISMISSING COMPLAINT WITH
  MONMOUTH COUNTY BUILDINGS AND                     PREJUDICE
  GROUNDS, DAVID KRYZANOWSKI,
  ROBERT W. COMPTON, and CRAIG
  BELL,

                         Defendants


        THIS MATTER having come before the Court on application of

  Defendant, Monmouth County Buildings and Grounds, more properly

  known as the County of Monmouth, and Defendant Robert Compton,

  seeking summary judgment dismissing the complaint with

  prejudice, and notice having been given to all parties, by and

  through their counsel, and the Court having considered the

  positions and arguments of counsel, and good cause having been

  shown;

        IT IS on this _________ day of ____________________, 2019

        HEREBY    ORDERED    that     summary   judgment   is    granted    to

  Defendants, and all remaining counts of Plaintiff’s Complaint

  are hereby dismissed with prejudice; and

        IT IS FURTHER ORDERED that a copy of this Order shall be

  served on all counsel of record within ______ days hereof.



                                      _________________________________
                                      Hon. Peter G. Sheridan, U.S.D.J.
